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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               § CAUSE:
                                                       Case
                                                          NO.No.:
                                                              21-CR-327
                                                                  1:23-cr-070 (CJN)
                                                 §
JESSE JAMES RUMSON                               §
                                                 §

          MOTION FOR CONTINUANCE OF TRIAL – AMENDED - ERRATA

      Defendant, by and through his undersigned Attorney, files this Motion for

Continuance of Trial and in support of the same respectfully states:

                                            I.

      Defendant's Counsel requests a continuance of the Trial, currently set for April

22, 2024. Defendant's Counsel entered an appearance on this case on March 7, 2024

and needs additional time for investigation, motions, review of discovery, review of

relevant video, locating witnesses, and preparation for trial. Defendant requests a 90

day continuance. Opposing Counsel is opposed to this Motion. This Motion is not

solely made for the purpose of delay, but so that justice may be served.

WHEREFORE, Defendant prays that this Court enter an Order granting this Motion.

                                                   Respectfully submitted.

                                                   /s/ ANTHONY F. SABATINI
                                                   FL Bar No. 1018163
                                                   anthony@sabatinilegal.com
                                                   SABATINI LAW FIRM, P.A.
                                                   411 N DONNELLY ST, STE #313
                                                   MOUNT DORA, FL 32757
                                                   T: (352)-455-2928
                                                   Attorney for Defendants




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                             CERTIFICATE OF SERVICE

I hereby certify that on March 11, 2024, I filed the foregoing using the CM/ECF system
which will give electronic notification to all attorneys of record.

                                               /s/ Anthony F. Sabatini




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